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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-134-02-JL

Paul E. Conway


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

25) filed by defendant is granted.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           /s/ Joseph N. Laplante
                                           Jospeph N. Laplante
                                           United States District Judge

Date: November 16, 2009




cc:   John T. Pendleton , Esq.
      David W. Ruoff , Esq.
      Michael J. Iacopino, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation
